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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

KERRIANN GAYLE                         x
                                       : Civil Action No.
                  Plaintiff,           :
                                       :
      v.                               :
                                       :
GREYHOUND LINES INC., JOHN DOE 1- :
5, MARY DOE 1-5, DOE CORPORATION :                NOTICE OF REMOVAL
1-5                                    :
                                       :
                  Defendants.          :
______________________________________ x

        Pursuant to 28 U.S.C. § 1332(a) and 28 U.S.C. § 1441, defendant Greyhound Lines, Inc.

(“Greyhound”), by and through its undersigned counsel, hereby remove to the United States

District Court for the District of New Jersey the case captioned Kerriann Gayle v. Greyhound

Lines Inc., John Doe 1-5, Mary Doe 1-5, Doe Corporation 1-5, now pending in the Superior Court

of New Jersey, Passaic Vicinage, Docket No. PAS-L-002257-21, and as grounds for removal states

as follows:

I.      NATURE OF ACTION

        1.          This action arises out of an alleged motor vehicle accident that occurred in the state

of New Jersey on August 6, 2019. See Complaint, attached hereto at Exhibit A.

        2.          Plaintiff is a resident of New Jersey, with an address of 285 Aycrigg Avenue,

Apartment 11B, Passaic, New Jersey. Id.

        3.          Defendant is a Delaware corporation with its principal place of business in Texas.

II.     PROCEDURAL HISTORY

        4.          On July 15, 2021, plaintiff Kerriann Gayle (“plaintiff”) filed a Complaint against

defendant Greyhound. See Exh. A.




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         5.         Pursuant to 28 U.S.C. § 1446(b)(1), this Notice of Removal is being filed within

thirty days of receipt of the Complaint by defendant Greyhound.

III.     LEGAL ARGUMENT

         A.         THE ADVERSE PARTIES ARE COMPLETELY DIVERSE

         6.         Pursuant to 28 U.S.C. § 1332, a matter may be removed to Federal Court based

upon the complete diversity of citizenship between the parties.

         7.         Complete diversity of citizenship between the parties exists when “every plaintiff

[is] of diverse state citizenship from every defendant.” In re Brisco, 488 F.3d 201, 215 (3d. Cir.

2016).

         8.         A corporation is considered to be a citizen of its state of incorporation and the state

where it has its principal place of business. 28 U.S.C. § 1332(c).

         9.         Under the “nerve center” test adopted by the United States Supreme Court, a

corporation’s principal place of business is the headquarters of the corporation, i.e. that “place

where a corporation’s officers direct, control and coordinate the corporation’s activities.” Hertz

Corp. v. Friend, 599 U.S. 77, 92-93 (2010).

         10.        As stated in plaintiff’s Complaint, plaintiff is a resident of the state of New Jersey,

with an address of 285 Aycrigg Avenue, Apartment 11B, Passaic, New Jersey.

         11.        Greyhound, the sole defendant in this matter, is a Delaware corporation with its

principal place of business in Texas, as its headquarters is located in Texas.

         12.        Pursuant to 28 U.S.C. § 1441(b)(1), the citizenship of Greyhound used under

fictitious names shall be disregarded for purposes of removal based on diversity jurisdiction.




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        13.         Fictitious defendants John Doe 1-5, Mary Doe 1-5, and Doe Corporations 1-5 are

fictitious entities whose citizenship is disregarded for purposes of removal based on diversity

jurisdiction.

        14.         Therefore, there is complete diversity of citizenship between plaintiff and

defendant.

        B.          THE AMOUNT IN CONTROVERSY EXCEEDS $75,000

        15.         Under 28 U.S.C. § 1332(a), federal jurisdiction based on diversity of citizenship

requires that the amount in controversy exceed $75,000.

        16.         The amount in controversy is measured by the pecuniary value of the rights being

litigated. Hunt v. Washington Apple Advertising Commission, 432 U.S. 333, 347 (1977).

        17.         In the Complaint, plaintiff alleges that she suffered “serious and permanent

personal injuries requiring the care and treatment of physicians, hospitalizations and medication.”

See Exh. A at ¶ 4.

        18.         In addition, plaintiff alleges that she “has been and will in the future continue to be

hampered in her daily routine.” See Exh. A at ¶ 4.

        19.         While Greyhound disputes plaintiff’s allegations, the amount in controversy is in

excess of $75,000.

IV.     CONCLUSION

        With both the existence of diversity of citizenship between the adverse parties and the

amount in controversy threshold having been satisfied, removal is proper under 28 U.S.C. §§ 1332

and 1441.




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        WHEREFORE, defendant Greyhound Lines, Inc. respectfully requests that the action

described herein now pending in the Superior Court of New Jersey, Passaic Vicinage be removed

to this Court.



                                          Respectfully submitted,

                                   BY:    /s/ Fabiola Vieites___________________
                                          Fabiola Vieites, Esq.
                                          ID No. 274762018
                                          LANDMAN CORSI BALLAINE & FORD P.C.
                                          One Gateway Center, 22nd Floor
                                          Newark, NJ 07102
                                          Attorneys for Defendant Greyhound Lines, Inc.

Dated: August , 2021




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                    CERTIFICATION PURSUANT TO LOCAL RULE 11.2

        I hereby certify that the matter in controversy in this action is not now known to be the

subject of any other action pending in any court or of any pending arbitration or administrative

proceeding.



                                     BY:    /s/ Fabiola Vieites___________________
                                             Fabiola Vieites, Esq.
                                             ID No. 274762018
                                             LANDMAN CORSI BALLAINE & FORD P.C.
                                             One Gateway Center, 22nd Floor
                                             Newark, NJ 07102
                                             Attorneys for Defendant Greyhound Lines, Inc.

Dated: August , 2021




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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY


KERRIANN GAYLE                         x
                                       : Civil Action No.
                  Plaintiff,           :
                                       :
      v.                               :
                                       :
GREYHOUND LINES INC., JOHN DOE 1- :
5, MARY DOE 1-5, DOE CORPORATION :
1-5                                    :
                                       :
                  Defendants.          :
______________________________________ x

                                           DECLARATION

        I, Fabiola Vieites, of full age, certify as follows:

        1.          I am an attorney with the firm of Landman Corsi Ballaine & Ford P.C., attorneys

for defendant Greyhound Lines, Inc. in the above matter.

        2.          On August , 2021, I served a copy of defendant Greyhound Lines, Inc.’s Notice

of Removal with supporting documents via regular mail, postage prepaid, and email upon the

following:

                                        James C. DeZao, Esq.
                                  Law Offices of James C. DeZao, P.A.
                                     322 Route 46 West, Suite 120
                                    Parsippany, New Jersey 07054



        3.          In addition, the assertions set forth in paragraphs 17 through 18 of defendant’s

Notice of Removal are based upon review of the allegations in plaintiff’s Complaint.

        I hereby declare under penalty of perjury that the foregoing is true and correct.




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                                 BY:   /s/ Fabiola Vieites___________________
                                       Fabiola Vieites, Esq.
                                       ID No. 274762018
                                       LANDMAN CORSI BALLAINE & FORD P.C.
                                       One Gateway Center, 22nd Floor
                                       Newark, NJ 07102
                                       Attorneys for Defendant Greyhound Lines, Inc.
        Dated: August , 2021




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         EXHIBIT A
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           PAS L 002257-21 07/16/2021 4:19:19 AM Pg 1 of 1 Trans ID: LCV20211669900
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PASSAIC SUPERIOR COURT
PASSAIC COUNTY COURTHOUSE
77 HAMILTON STREET
PATERSON         NJ 07505
                                             TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (973) 653-2910
COURT HOURS 8:30 AM - 4:30 PM

                             DATE:   JULY 15, 2021
                             RE:     GAYLE KERRIANN VS GREYHOUND LINES INC.
                             DOCKET: PAS L -002257 21

      THE ABOVE CASE HAS BEEN ASSIGNED TO:   TRACK 2.

     DISCOVERY IS   300 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:   HON FRANK COVELLO

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM      001
AT:   (973) 247-8205.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: JAMES C. DE ZAO
                                             JAMES C. DE ZAO, P.A.
                                             322 US HWY 46 #120
                                             PARSIPPANY       NJ 07054

JURTOR3
